              Case 1:22-cv-00413-RP Document 15 Filed 01/24/23 Page 1 of 2




                                      UNITED STATES DISTRICT COURT
                                       WESTERN DISTRICT OF TEXAS
                                             AUSTIN DIVISION

Dawnna M. Dukes,                                                  §
v.                                                                §                            Case No. 1:22-cv-413
NewRez LLC dba Shellpoint Mortgage                                §
Servicing, et al.                                                 §

                     APPEARANCE NOTICE FOR DEFENDANT SHELLPOINT

          PLEASE TAKE NOTICE Martin Dungan appears as counsel for defendant NewRez LLC

dba Shellpoint Mortgage Servicing.                          All papers and pleadings should be served on

undersigned counsel.

Dated: January 24, 2023                                                  Respectfully submitted,


                                                                          /s/ R. Martin Dungan
                                                                         R. Martin Dungan, SBN: 24099021
                                                                         AKERMAN LLP
                                                                         2001 Ross Avenue, Suite 3600
                                                                         Dallas, Texas 75201
                                                                         Telephone: 214.720.4300
                                                                         Facsimile: 214.981.9339
                                                                         martin.dungan@akerman.com

                                                                         ATTORNEYS FOR DEFENDANT
                                                                         SHELLPOINT




APPEARANCE NOTICE FOR DEFENDANT SHELLPOINT                                                                 Page 1 of 2
Case 1:22-cv-413; Dawnna M. Dukes v. NewRez LLC dba Shellpoint Mortgage Servicing, et al.
              Case 1:22-cv-00413-RP Document 15 Filed 01/24/23 Page 2 of 2




                                            CERTIFICATE OF SERVICE

          A true and correct copy of this document was served on January 24, 2023 as follows:

VIA ECF
Stephen A. Mitchell
4408 Spicewood Springs Road
Austin, Texas 78759
smitchell@stevemitcehll-law.com
Plaintiff's Counsel

                                                                         /s/ R. Martin Dungan
                                                                         R. Martin Dungan




APPEARANCE NOTICE FOR DEFENDANT SHELLPOINT                                                      Page 2 of 2
Case 1:22-cv-413; Dawnna M. Dukes v. NewRez LLC dba Shellpoint Mortgage Servicing, et al.
